                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at GREENEVILLE
ROBERT JOHNSON,                                )
                                               )
        Petitioner,                            )
                                               )
v.                                             )       Nos.: 2:13-cv-170; 2:09-cr-31
                                               )       Judge Jordan
UNITED STATES OF AMERICA,                      )
                                               )
        Respondent.                            )

                               ORDER AMENDING JUDGMENT

        Pursuant to the order this day entered, it is hereby ORDERED that the term of imprisonment

set forth in the “IMPRISONMENT” section on page 2 of this Court’s judgment entered on October

7, 2010, is AMENDED to read in its entirety as follows:

        The defendant is hereby committed to the custody of the United States Bureau
        of Prisons to be imprisoned for a total term of TIME SERVED.


It is also ORDERED that the term of supervised release set forth in the “SUPERVISED RELEASE”

section on page 3 of that judgment is AMENDED to read in its entirety as follows:

        Upon release from imprisonment, the defendant shall be on supervised release
        for a term of 4 years.

        This order shall take effect ten days from its entry in order to give the Bureau of Prisons time

to process petitioner’s release. Except as provided above, all provisions of the judgment dated

October 7, 2010, shall remain in effect.



         SO ORDERED.

        ENTER:



                                                                        s/ Leon Jordan
                                                                   United States District Judge



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